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13
14                          UNITED STATES DISTRICT COURT

15                         CENTRAL DISTRICT OF CALIFORNIA

16
17   CHRISTOPHER HOBBS,                           Civil No. 2:18-cv-00480-PSG-E
18
                      Plaintiff,                  PLAINTIFF CHRISTOPHER
19                                                HOBBS’ OPPOSITION TO MOTION
                      v.                          TO DISMISS OF DEFENDANTS
20
                                                  RANDALL DEVINE AND THE
21   RANDALL DEVINE, an individual;               UNITED STATES OF AMERICA
     THE UNITED STATES OF AMERICA;
22
     AND DOE DEFENDANTS 1-50,       [[PROPOSED] ORDER, filed
23                                  concurrently]
               Defendants.
24
                                    Honorable Philip S. Gutierrez
25
                                                  Date: September 24, 2018
26                                                Time: 1:30 p.m.
27                                                Crtrm: 6A
28



                    PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2                                   I.     INTRODUCTION
 3         The present case concerns the unlawful framing of Plaintiff as a pedophile,
 4   and the ongoing efforts of an agent for the Federal Bureau of Investigations to
 5   suppress evidence of that agent’s mistake, and of Plaintiff’s innocence. Plaintiff
 6   has spent several years attempting to understand what happened to him, and why,
 7   and, in 2016, found evidence establishing that Plaintiff’s arrest took place at the
 8   direction of Defendant Randall Devine (“Devine”) and without probable cause.
 9         Plaintiff seeks damages under Bivens and common law tort claims for what
10   transpired. See Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics,
11   403 U.S. 388, 411, 91 S. Ct. 1999, 2012, 29 L. Ed. 2d 619 (1971) (Harlan,
12   Concurring) ("I deem it proper to venture the thought that at the very least such a
13   remedy would be available for the most flagrant and patently unjustified sorts of
14   police conduct. Although litigants may not often choose to seek relief, it is
15   important, in a civilized society, that the judicial branch of the Nation's government
16   stand ready to afford a remedy in these circumstances").
17                             II.        STANDARD OF REVIEW
18         With a 12(b)(1) motion, a court may weigh the evidence to determine
19   whether it has jurisdiction. Autery v. United States, 424 F.3d 944, 956 (9th Cir.
20   2005). With a Rule 12(b)(6) motion, to survive a motion to dismiss for failure to
21   state a claim, the plaintiff must allege “enough facts to state a claim to relief that is
22   plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 127 S.Ct. 1955,
23   1974, 167 L.Ed.2d 929 (2007); see Fed.R.Civ.P. 12(b)(6). In general, the inquiry is
24   limited to the allegations in the complaint, which are accepted as true and construed
25   in the light most favorable to the plaintiff. Sprewell v. Golden State Warriors, 266
26   F.3d 979, 988 (9th Cir.2001); Lazy Y Ranch Ltd. v. Behrens, 546 F.3d 580, 588 (9th
27   Cir. 2008).
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 1                                   III.   ARGUMENT
 2      A. Plaintiff’s Constitutional Claims Should Be Allowed To Proceed
 3      In Ashcroft v. Iqbal, 556 U.S. 662, 675, 129 S. Ct. 1937, 1947–48, 173 L. Ed. 2d
 4   868 (2009), the Supreme Court described Bivens claims as follows:
 5            In Bivens—proceeding on the theory that a right suggests a
 6            remedy—this Court “recognized for the first time an implied
              private action for damages against federal officers alleged to have
 7            violated a citizen's constitutional rights.” **1948 Correctional
 8            Services Corp. v. Malesko, 534 U.S. 61, 66, 122 S.Ct. 515, 151
              L.Ed.2d 456 (2001). Because implied causes of action are
 9
              disfavored, the Court has been reluctant to extend Bivens liability
10            “to any new context or new category of defendants.” 534 U.S., at
              68, 122 S.Ct. 515.
11
12      B. Plaintiff’s Causes Of Action Are Recognized Under Bivens

13
           Defendants cite to Ashcroft v. Iqbal, 556 U.S. 662, 675, 129 S. Ct. 1937,

14
     1947–48, 173 L. Ed. 2d 868 (2009) for the premise that implied causes of action are

15
     disfavored in the Bivens context. The Iqbal court relied on Correctional Services

16
     Corp. v. Malesko, 534 U.S. 61, 68, 122 S.Ct. 515, 151 L.Ed.2d 456 (2001) which

17
     addressed whether private actors could be subject to Bivens claims, and held that

18
     there was no federal remedy against private entities acting under color of federal

19
     law. Id. at 519. At issue in the present case, however, is whether a Bivens action

20
     can stand against Devine -- a Federal employee -- allegedly acting, at times, under

21
     color of federal law. Still, the Ashcroft court expressed disfavor with implied causes

22
     of action, such as a Bivens claim.

23
           The Iqbal court stated that “[b]ecause vicarious liability is inapplicable

24
     to Bivens and § 1983 suits, a plaintiff must plead that each government-official
     defendant, through the official's own individual actions, has violated the
25
     Constitution. Ashcroft v. Iqbal, 556 U.S. 662, 676, 129 S. Ct. 1937, 1948, 173 L. Ed.
26
27
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 1   2d 868 (2009). In this matter, Plaintiff has alleged that Devine personally violated
 2   the constitution.
 3         In Ziglar v. Abbasi, 137 S. Ct. 1843, 1848, 198 L. Ed. 2d 290 (2017), the
 4   Supreme Court stated that Bivens actions have historically been limited to three
 5   categories – (i) unreasonable searches and seizures prohibited under the Fourth
 6   amendment; (ii) gender discrimination, and (iii) cases involving violation of the
 7   Eighth Amendment’s prohibition against cruel and unusual punishment. The Court
 8   then stated that a Bivens cause of action should not lie if there are special factors
 9   counseling hesitation in the absence of affirmative action by Congress. Id. at 1857.
10         Accordingly, the questions before this court are (a) whether Plaintiff’s claims
11   fall under the Fourth Amendment’s prohibition against unlawful searches and
12   seizures or have otherwise been recognized; and (b) if not, do special factors
13   counseling hesitation preclude Plaintiff's claims.
14         For the reasons set forth below, Plaintiff’s Fourth Amendment claim against
15   unlawful detention has been recognized by the Supreme Court and by the Ninth
16   Circuit, and the Ninth Circuit has recently, in Rodriguez v. Swartz, __ F.3d___
17   (2018), 2018 WL 3733428, 2018 U.S. App. LEXIS 21930 (9th Cir. Aug. 7, 2018)
18   allowed Bivens claims for Fourth Amendment violations to go forward even if the
19   violation took place extraterritorially. And the Ninth Circuit has repeatedly
20   recognized Bivens claims for Malicious Prosecution.
21            1. The indirect aspect to Plaintiff’s unlawful arrest claim is not fatal
22         The Court in Ziglar v. Abbasi was clear that unlawful arrest claims are not
23   novel and should not be disrupted. Specifically, the Court stated:
24            And it must be understood that this opinion is not intended to cast
              doubt on the continued force, or even the necessity, of Bivens in the
25            search-and-seizure context in which it arose. Bivens does vindicate
26            the Constitution by allowing some redress for injuries, and it
              provides instruction and guidance to federal law enforcement
27
28
                                                 3
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              officers going forward. The settled law of Bivens in this common
              and recurrent sphere of law enforcement, and the undoubted
 2            reliance upon it as a fixed principle in the law, are powerful reasons
 3            to retain it in that sphere.
     Ziglar v. Abbasi, 137 S. Ct. 1843, 1856–57, 198 L. Ed. 2d 290 (2017).
 4
           Plaintiff asserts that Devine “coordinated the arrest, interrogation, and
 5
     publicity of Plaintiff's arrest” [Complaint, ¶ 40] [ECF 1]. Defendants argue that the
 6
     indirect nature of Plaintiff’s claim make it a new type of Bivens claim. [“MOTION
 7
     TO DISMISS BY DEFENDANTS RANDALL DEVINE AND THE UNITED
 8
     STATES OF AMERICA” (“Motion”) at 8:19-28] [ECF 21]. Defendants argue that
 9
     Plaintiff's claim is insufficient because Plaintiff was arrested and prosecuted by the
10
     Royal Thai police, rather than by Defendant himself, even if at Defendant Devine’s
11
     instruction. [Motion at 8:19-28] [ECF 21]. Devine argues that because the arrest
12
     was by the Royal Thai police, the liability theory is indirect and therefore not
13
     actionable.
14
           But the Ninth Circuit has implied, however, that indirect participation -- in
15
     the form of directing or consulting those who perform the arrest -- is a viable basis
16
     for an unlawful arrest claim. See Torres v. City of Los Angeles, 548 F.3d 1197,
17
     1206 (9th Cir. 2008) (“We affirm the district court's dismissal of Plaintiffs' case
18
     against Detective Hickman. The evidence is undisputed that Detective Hickman
19
     was not present when Torres was arrested, and there is no evidence that Detective
20
     Hickman instructed the other detectives to arrest Torres or that any of those
21
     detectives consulted with her before making the arrest. Thus, there is no evidence of
22
     “integral participation” by Detective Hickman in the alleged constitutional
23
     violation”); Chuman v. Wright, 76 F.3d 292, 295 (9th Cir. 1996) (allowing for
24
     liability if there was “integral participation by the offending defendant”);
25
     Blankenhorn v. City of Orange, 485 F.3d 463, 481 (9th Cir. 2007) (“‘[I]ntegral
26
     participation’ does not require that each officer's actions themselves rise to the level
27
28
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 1   of a constitutional violation.” Boyd v. Benton County, 374 F.3d 773, 780 (Ninth Cir.
 2   2004). But it does require some fundamental involvement in the conduct that
 3   allegedly caused the violation”).
 4         Plaintiff has alleged that Devine orchestrated Plaintiff’s arrest -- establishing
 5   sufficient integral participation to properly assert a Bivens claim, based on indirect
 6   but integral participation.
 7            2. The Ninth Circuit recognizes Bivens Claims for Malicious
                 Prosecution
 8
           Defendants imply that no cause of action for malicious prosecution can lie
 9
     under Bivens. But the Ninth Circuit, and courts within it, have recognized this
10
     Bivens cause of action as viable. In Fallay v. City & Cty. of San Francisco, 604 F.
11
     App'x 539, 540 (9th Cir. 2015), the court stated:
12
              As to Federal Defendants David Carr and Bruce Whitten, we
13            reverse the district court's order dismissing the SAC with prejudice
14            because Fallay could have amended his SAC to allege
              a Bivens action for malicious prosecution. Fallay's Bivens claim for
15
              malicious prosecution was not barred by the statute of limitations
16            because it did not accrue until after the state court criminal
              proceedings terminated.
17
     And in West v. City of Mesa, 128 F. Supp. 3d 1233, 1244–45 (D. Ariz. 2015),
18
     aff'd, 708 F. App'x 288 (9th Cir. 2017), the court stated:
19
20            The basis of a Bivens action is some illegal or inappropriate conduct
              on the part of a federal official or agent that violates a clearly
21            established constitutional right.” Balser v. Dept. of Justice, Office of
22            the United States Trustee, 327 F.3d 903, 909 (9th Cir.2003). In
              order to establish malicious prosecution in the Bivens context, “a
23            plaintiff ‘must show that the defendants prosecuted [him] with
24            malice and without probable cause, and that they did so for the
              purpose of denying [him] equal protection or another specific
25            constitutional right.’ ” Awabdy, 368 F.3d at 1066 (citing Freeman v.
26            City of Santa Ana, 68 F.3d 1180, 1189 (9th Cir.1995)). “A criminal
              defendant may maintain a malicious prosecution claim not only
27            against prosecutors but also against others—including police
28
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               officers and investigators—who wrongfully caused his
               prosecution. Smith v. Almada, 640 F.3d 931, 938 (9th Cir.2011)”)
  2            (citing Galbraith v. Cnty. of Santa Clara, 307 F.3d 1119, 1126 (9th
  3            Cir.2002)).
      Other courts within the Ninth Circuit have also recognized Bivens claims for
  4
      malicious prosecution. See Mazzetti v. Bellino, 57 F. Supp. 3d 1262, 1270 (E.D. Cal.
  5
      2014) (allowing Bivens malicious prosecution claim to proceed).
  6
            In the present case, Plaintiff alleged that he was prosecuted without probable
  7
      cause; that Devine had no probable cause to pursue the prosecution; and that Devine
  8
      integrally participated in Plaintiff’s arrest and the prosecution of Plaintiff.
  9
      [Complaint ¶¶ 12, 13, 15, 17, 31, 33] [ECF 1]. Plaintiff has alleged a viable Bivens
 10
      claim recognized within this circuit.
 11
            Devine argues that under Ziglar v. Abbasi, there is no longer a viable Bivens
 12
      claim for malicious prosecution. While malicious prosecution is not one of the three
 13
      types of Bivens cause of actions historically addressed by the Supreme Court, the
 14
      Court does not discuss the circuit and district court rulings addressing the cause of
 15
      action as viable, or state that a cause of action under Bivens for malicious
 16
      prosecution should be automatically disregarded. Rather it states that Bivens actions
 17
      brought in a new context need to be subjected to a secondary analysis of whether
 18
      hesitation is warranted in allowing the claim to go forward.
 19
               3. There are no special factors weighing against allowing the Bivens
 20
                  claims to proceed
 21
            First, contrary to Devine’s claim, there are no alternative remedial structures
 22
      available. Prior to Hobbs learning -- in 2016 -- that his prosecution was at the
 23
      direction of Defendant Devine, Plaintiff Hobbs brought actions against the Royal
 24
      Thai Police ("RTP") for its separate conduct, which did not concern Defendant
 25
      Devine. [Complaint ¶¶ 44, 47. 65] [ECF 1]. Defendants have provided no alternative
 26
      forum where Hobbs’ claims against Devine could be heard.
 27
 28
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  1         Second, the extraterritorial nature of Plaintiff’s claim is not a special factor
  2   counseling hesitation. Defendants rely heavily on Hernandez v. Mesa, 885 F.3d 811
  3   (5th Cir. 2018) where a US Border Patrol agent shot and killed a 15-year-old boy
  4   who was walking in Mexico. But on August 7, 2018, the Ninth Circuit came down
  5   differently on the question of extraterritorial application of Bivens. In Rodriguez v.
  6   Swartz, 2018 WL 3733428, 2018 U.S. App. LEXIS 21930, a federal agent on the US
  7   side of a border shot and killed a 16-year-old boy walking down the streets of
  8   Mexico. During an interlocutory appeal of a denial of a motion to dismiss based on
  9   Qualified Immunity, the agent argued that the Fourth Amendment did not apply as
 10   the injury occurred abroad. But the Ninth Circuit held that the Fourth Amendment
 11   was applicable and that the extraterritorial nature did not bar the Bivens claim. The
 12   9th Circuit evaluated many of the same arguments that Devine makes here.
 13               i.   Plaintiff does not have an adequate alternative remedy
 14         The Ninth Circuit has held that it cannot grant a Bivens cause of action if “any
 15   alternative, existing process for protecting the [constitutional] interest amounts to a
 16   convincing reason for the Judicial Branch to refrain from providing a new and
 17   freestanding remedy in damages.” We also cannot extend Bivens if Congress’s
 18   “failure to provide money damages, or other significant relief, has not been
 19   inadvertent.” Rodriguez v. Swartz, No. 15-16410, 2018 WL 3733428, at *10, 2018
 20   U.S. App. LEXIS 21930, (9th Cir. Aug. 7, 2018)
 21         None of the proposed alternative remedies were sufficiently available.
 22                    a. No evidence has been presented that alternative remedial
 23                       processes were available via Thai criminal law and Thai civil
                          law
 24
            Devine argues that Plaintiff had at his disposal the “normal remedial processes
 25
      provided by the Thai system”, but fails to provide any facts to support this, or
 26
      explain how the Thai system afforded Plaintiff a remedy against Devine. Similarly,
 27
 28
                                                   7
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  1   Devine presents no evidence that Hobbs’ civil actions brought in 2015 (and prior to
  2   learning that his arrest was at the direction of Devine, which occurred in 2016)
  3   provided any remedy for Plaintiff’s claim against Devine.
  4         The defendants made the same argument in Swartz, and it was rejected. The
  5   Ninth Circuit stated that “Swartz argues that Rodriguez could seek a remedy in a
  6   Mexican court. But that argument appears to be a mere makeweight. Swartz does not
  7   cite any authority showing that a Mexican court could exercise jurisdiction over him
  8   or that Rodriguez would have a remedy under Mexican law. Nor does he attempt to
  9   show how Rodriguez could execute on a judgment from a Mexican court without
 10   running afoul of the Westfall Act.” Rodriguez v. Swartz, 2018 WL 3733428, at *13,
 11   2018 U.S. App. LEXIS 21930 (9th Cir. Aug. 7, 2018). The same holds true here.
 12   Devine does not cite any authority showing that a Thai court could exercise
 13   jurisdiction over him or that Plaintiff would have a remedy under Thai law as against
 14   Devine.
 15                    b. Hobbs cannot bring a claim under the FTCA.
 16         The Federal Tort Claims act is a narrow waiver of sovereign immunity. It
 17   contains an exception for claims “arising in a foreign country” (28 U.S.C. §
 18   2680(k)). Because Hobbs was arrested and prosecuted in Thailand, he does not have
 19   an action under the FTCA.
 20              ii.   The extraterritorial exception to the FTCA is not meant to
 21                    indicate a broader congressional prohibition against the
 22                    extraterritorial application of Bivens
 23         Devine argues that the enactment of Section 2680(k) indicates a desire of
 24   congress to preclude potential liability for conduct arising in a foreign country, even
 25   outside of the FTCA. [Motion at 13:6-28][ECF 21]. This argument was rejected by
 26   the Ninth Circuit in Swartz, when the Court stated:
 27
 28
                                                   8
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  1
              But this foreign country exception does not imply, as Swartz, the
              United States, and the dissent all argue, that Congress intended to
  2           prevent Rodriguez from having a Bivens remedy. This is because
  3           “the foreign country exception ... codified Congress’s
              ‘unwilling[ness] to subject the United States to liabilities depending
  4           upon the laws of a foreign power.’ ” At the time, standard choice-of-
  5           law analyses, which have not been uniformly abrogated, focused on
              the place the harm occurred, and would have compelled U.S. courts
  6           to apply foreign law, even to a state common law claim, leading “to
  7           a good deal of difficulty.” Thus, “[t]he object being to avoid
              application of substantive foreign law, Congress evidently used the
  8           modifier ‘arising in a foreign country’ to refer to claims based on
  9           foreign harm or injury, the fact that would trigger application of
              foreign law to determine liability.” And even under modern choice
 10           of law rules, the application of state tort law could mean the
 11           application of state choice of law rules, which, in turn, could lead to
              the application of foreign substantive law, which is what Congress
 12           did not want. Allowing a Bivens cause of action here, however, does
 13           not implicate this concern because it arises under only U.S.
              constitutional law and does not implicate Mexican substantive law
 14           or even Arizona choice-of-law provisions that could lead to the
 15           application of Mexican substantive law. This is all that Congress
              sought to avoid.
 16
      Rodriguez v. Swartz, No. 15-16410, 2018 WL 3733428, at *10, 2018 U.S. App.
 17
      LEXIS 21930 (9th Cir. Aug. 7, 2018).
 18
            Defendants rely on Meshal v. Higgenbotham, 804 F.3d 417 (D.C. Cir. 2015)
 19
      claiming that it paralleled the Fifth Circuit's decision in Hernandez. First, the Ninth
 20
      Circuit declined to adopt the reasoning of the Fifth Circuit when it issued the Swartz
 21
      decision. Second, in Meshal, the court stated that "To our knowledge, no court has
 22
      previously extended Bivens to cases involving either the extraterritorial application
 23
      of constitutional protections” Meshal v. Higgenbotham, 804 F.3d 417, 424 (D.C. Cir.
 24
      2015). But in Swartz, the Ninth Circuit did so. Third, in Meshal, the court was
 25
      concerned with a Bivens claim that could impact the national security and foreign
 26
      policy context. Id. at 418. But no national security issues are at play with Plaintiff's
 27
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  1   claim, and no identifiable foreign policy issues are at play so as to cause hesitation
  2   for allowing the claim to proceed. Lastly, Meshal involved two special factors – one
  3   involving "the military, national security or intelligence", which are not issues here,
  4   and another, that the Supreme Court has never favorably mentioned an exterritorial
  5   Bivens claim (Meshal v. Higgenbotham, 804 F.3d 417, 425–26 (D.C. Cir. 2015), but
  6   in Swartz, the Ninth Circuit has done so.
  7             iii.   There are no foreign policy concerns that preclude prosecution
  8                    of the Bivens claims of Plaintiff
  9         Devine correctly acknowledges that Plaintiff alleged that the actions of the
 10   Royal Thai Police, and the Thai Attorney General, were subject to the approval of
 11   Defendant Devine. [Motion at 15:1-5] [ECF 21] [Citing to Complaint, ¶¶ 41, 44,
 12   51, 55]. Devine argues that allowing the claim to proceed based on alleged
 13   subversion of Thai officials raises foreign policy concerns. But all Plaintiff has
 14   alleged is that Defendant Devine continued to provide false information to Thai
 15   Officials – not that Devine undermined their authority. Instead, Hobbs’ alleges that
 16   Thai Officials used their authority to its fullest extent, but did so based on false
 17   information provided by Devine. Hobbs alleges that this resulted in his arrest and
 18   an ongoing investigation, done as a result of the integral participation of Defendant
 19   Devine. See Torres v. City of Los Angeles, 548 F.3d 1197, 1206 (9th Cir. 2008).
 20         Moreover, the bulk of Devine’s argument related to foreign policy relied on
 21   Hernandez and Meshal. Meshal paralled Hernandez, and in Swartz, the Ninth
 22   Circuit determined to not follow the Fifth Circuit’s decision in Hernandez.
 23         Lastly, Devine argues that discovery will be difficult to conduct, because of
 24   the Thai language barrier and because of the Thai Witnesses. But if Plaintiff cannot
 25   establish his claim through documentary evidence, or acquire the necessary
 26   witnesses, then Plaintiff will lose. But this does not impact whether his claim
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  1   somehow implicates foreign policy in such a fashion as to disallow the claim
  2   altogether.
  3         Moreover, In re Sealed Case, 494 F.3d 139, 145 (D.C. Cir. 2007) is
  4   instructive. In that case, the Circuit Court for the District of Columbia allowed a
  5   Bivens claim to proceed against a state department Charge d’Affaire for overseas
  6   wiretapping. The district court determined that the state secrets privilege precluded
  7   the claim, because the defendants successfully argued that the plaintiff could not
  8   establish a prima facie case without the protected material. But the District of
  9   Columbia Circuit Court disagreed, and held that “[a]t this stage of the
 10   proceedings, Horn must supply sufficient allegations that a federal agent, acting
 11   under color of his authority, violated his Fourth Amendment rights, but he need not
 12   disprove possible defenses.” In re Sealed Case, 494 F.3d 139, 145 (D.C. Cir.
 13   2007). The same is true here. Plaintiff concedes that, in this case, Plaintiff could
 14   not use state secrets to establish his claim. Still, Plaintiff maintains that he will not
 15   need to use any privileged material to establish his claim, and dismissal at this
 16   juncture would be improper.
 17      C. Plaintiff Has Challenged The Substitution Of The United States For
 18         Defendant Devine.
 19         In a separate pleading, also noticed for the same hearing date, Plaintiff has
 20   challenged the substitution of the United States as a defendant for Defendant
 21   Devine. Plaintiff intends to argue that Devine, at times, was acting for his own
 22   personal means and not for the benefit of the United States.
 23         If Plaintiff is not successful, and if the United States is allowed to substitute
 24   as the proper defendant for Devine, then Plaintiff concedes that the tort claims are
 25   barred under the Federal Tort Claims Act because 28 USC § 2680(k) excludes
 26   recovery for injuries occurring outside of the United States, and that Hobbs’ Libel,
 27   Slander, and Defamation claims are barred under 28 USC § 2680(h).
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  1                                 IV.   CONCLUSION
  2         For the reasons set forth above, Defendant’s motion should be denied. In the
  3   alternative, Hobbs requests leave to amend and such a request should be granted.
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            Respectfully Submitted,

  6   Dated: August 29, 2018                Law Offices of Victor Sherman
  7
                                            /s/ Victor________________
                                            _______    Sherman
  8                                         Victor Sherman
  9                                         Attorney for plaintiff

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